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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

BRIAN HUMPHREY, on behalf of himself and           )
all others similarly situated,                     )
                                                   )
             Plaintiffs,                           )
                                                   )
             v.                                    )      Case No. 20-cv-0233
                                                   )
JAMES LEBLANC,                                     )
                                                   )
             Defendant.                            )

   [PROPOSED] ORDER GRANTING MOTION TO SUBSTITUTE PLEADING

          The Court hereby grants the Motion to Substitute Plaintiffs' Pleading regarding

   the Motion to Withdraw Attorney Stephen H. Weil (Dkt. 226).

Date: ____________________                         __________________________________
                                                   United States District Judge
